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               UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: HON. LISA W. WANG, JUDGE
_________________________________________
SKEETER-JO STOUTE-FRANCOIS,               :
                                          :
                                          :
                        Plaintiff,        :    Court No. 24-00046
                                          :
                  v.                      :
                                          :
JANET YELLEN, SECRETARY OF THE            :
TREASURY, UNITED STATES                   :
DEPARTMENT OF THE TREASURY,               :
UNITED STATES OF AMERICA,                 :
                                          :
                        Defendants.       :
_________________________________________ :

                                               ORDER

       Upon consideration of plaintiff’s motion for judgment on the record, defendants’ response

thereto, and other papers on file, and upon due deliberation; it is hereby

       ORDERED that plaintiff’s motion is denied; and it is further

       ORDERED that U.S. Customs and Border Protection’s denial of plaintiff’s application for

a customs broker’s license is sustained; and it is further

       ORDERED that judgment is entered for the defendants and the action is dismissed.



                                               _________________________
                                                        JUDGE

Dated: ____________________
       New York, New York
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               UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: HON. LISA W. WANG, JUDGE
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                        Plaintiff,        :    Court No. 24-00046
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                  v.                      :
                                          :
JANET YELLEN, SECRETARY OF THE            :
TREASURY, UNITED STATES                   :
DEPARTMENT OF THE TREASURY,               :
UNITED STATES OF AMERICA,                 :
                                          :
                        Defendants.       :
_________________________________________ :

 _____________________________________________________________________________

           DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR
                         JUDGMENT ON THE RECORD
 _____________________________________________________________________________

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UNITED STATES COURT OF INTERNATIONAL TRADE
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SKEETER-JO STOUTE-FRANCOIS,               :
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                        Plaintiff,        :                        Court No. 24-00046
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                  v.                      :
                                          :
JANET YELLEN, SECRETARY OF THE            :
TREASURY, UNITED STATES                   :
DEPARTMENT OF THE TREASURY,               :
UNITED STATES OF AMERICA                  :
                                          :
                        Defendants.       :
_________________________________________ :

           DEFENDANTS’ MEMORANDUM IN OPPOSITION TO PLAINTIFF'S
              MOTION FOR JUDGMENT ON THE AGENCY RECORD

    Defendants, Janet Yellen, Secretary of the Treasury, United States Department of the

Treasury, United States of America (Government), pursuant to Rule 56.1 of the Rules of this

Court, submit this memorandum in opposition to plaintiff’s Motion for Judgment on the

Record.

                                         INTRODUCTION

       Plaintiff Skeeter-Jo Stoute-Francois challenges U.S. Customs and Border Protection’s

(CBP or Customs) denial of credit for four questions on the October 2021 Customs Brokers

License Examination. As a result of the denial of credit, plaintiff failed to attain a passing score

on the examination, which resulted in CBP’s denial of her application to obtain a broker’s license.

                                          BACKGROUND

       A. The Customs Broker License Examination

       “Customs brokers help importers and exporters navigate the labyrinthine of federal laws

governing the movement of merchandise into and out of the customs territory of the United
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States.” Dunn-Heiser v. United States, 374 F. Supp. 2d 1276, 1278 (Ct. Int’l Trade 2005). In order

to become a customs broker, applicants must obtain a customs broker’s license by successfully

completing a written examination that is administered by Customs. 19 U.S.C. § 1641(b)(2) 1; see

also 19 U.S.C. § 1641(f) (authorizing the promulgation of regulations relating to customs brokers);

19 C.F.R. § 111.13 (setting forth regulations governing the written examination). The exam is

designed “to determine the applicant’s knowledge of customs and related laws, regulations and

procedures,” as well as “all other appropriate matters to render valuable service to importers and

exporters.” 19 U.S.C. § 1641(b)(2); 19 C.F.R. § 111.13(a).

       The Customs Broker License Examination (CBLE) is administered annually in April and

October, and applicants must receive a passing score of 75 percent or higher to obtain their license.

19 C.F.R. § 111.11(a)(4). As the U.S. Court of Appeals for the Federal Circuit has explained:

                The examination is initially scored by Customs. After this initial
                scoring, 19 C.F.R. § 111.13(f) and 19 U.S.C. § 1641(e) provide a
                multitiered system of administrative and judicial review. If the
                passing grade of 75% is not attained, the applicant may request an
                initial administrative review by the Broker Management Branch of
                CBP’s Office of Trade. See 19 C.F.R. § 111.13(f). If the applicant’s
                score remains below 75% after this initial review, the applicant may
                request a second round of administrative review by the “appropriate
                Executive Director” of CBP’s Office of Trade. Id. If an applicant’s
                score remains below 75% after exhausting these two levels of
                administrative review, the decision to deny a customs broker license
                may be judicially appealed to the CIT. See 19 U.S.C. § 1641(e)(1).

Chae v. Yellen, 2023 WL 3072385, at *1 (Fed. Cir. Apr. 25, 2023)


       1
           19 U.S.C. § 1641(b)(2) provides:

       Before granting the license, [Customs] may require an applicant to show any facts
       deemed necessary to establish that the applicant is of good moral character and
       qualified to render valuable service to others in the conduct of customs business. In
       assessing the qualifications of an applicant, [Customs] may conduct an examination
       to determine the applicant’s knowledge of customs and related laws, regulations and
       procedures, bookkeeping, accounting, and all other appropriate matters.



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       When applicants seek administrative review of their test results, Customs communicates the

result of that review in the form of a letter. If, after two administrative reviews, Customs

determines that the applicant has still not achieved a passing grade of 75 percent, the letter sent by

Customs’ Executive Assistant Commissioner, Office of Trade, functions as a notice of denial of the

application from which the applicant may appeal to this Court. See 19 C.F.R § 111.16 (explaining

that if the “appropriate Executive Director, Office of Trade, determines that the application for a

license should be denied for any reason, notice of denial will be given by him or her to the

applicant” and that the “notice of denial will state the reasons why the license was not issued”); 28

U.S.C. § 1581(g)(1) (“The Court of International Trade shall have exclusive jurisdiction of any

civil action commenced to review – any decision of the Secretary of the Treasury to deny a

customs broker’s license under [19 U.S.C. § 1641(b)(2)].”).

       B. The Facts In This Case

       Plaintiff sat for the CBLE on October 21, 2021, at the Pearson Professional Center in

Atlanta, Georgia. Admin. Rec. (AR) at 82-108. The exam consisted of 80 questions. Id. By letter

dated November 16, 2021, Customs notified plaintiff that she had obtained a score of 67.50 percent

on the exam. Id. at 1-3. Because 67.50 percent is less than the required 75 percent needed to pass

the exam, the letter informed plaintiff that she had failed. Id. Plaintiff then sought administrative

review from Customs’ Broker Management Branch, arguing that she should have received credit

for nine questions—questions number 16, 18, 20, 34, 44, 45, 46, 68, and 73—that Customs had

determined she had gotten wrong. Id. at 3-15. By letter dated March 16, 2022, Customs informed

plaintiff that it was not changing its determination as to the nine questions she had appealed. Id. at

23. However, the letter also informed plaintiff that, unrelated to her appeal, Customs was granting

her credit for question number 66. Id. The letter therefore explained that plaintiff’s adjusted score




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was 68.75 percent, still below the required 75 percent to pass the test. Id.

       Plaintiff then sought a second round of review from Customs’ Executive Assistant

Commissioner, Office of Trade, again arguing that she should have received credit for questions

number 16, 18, 20, 34, 44, 45, 46, 68, and 73. Id. at 24-37. By letter dated January 5, 2024,

Executive Assistant Commissioner AnnMarie R. Highsmith informed plaintiff that Customs would

give plaintiff credit for questions number 18, 68, and 73. Id. at 60-69. The letter also explained

that Customs would not give plaintiff credit for the remaining questions she had appealed. Id. at

61. The letter then informed plaintiff that her “final score is 73.75”and that she could appeal

Customs’ decision “by filing an action in the Court of International Trade pursuant to 19 U.S.C. §

1641(e)(l) and 19 C.F.R. § 111.17.” Id.

        Plaintiff then commenced this action. Upon the filing of plaintiff’s Complaint, Customs

began assembling the administrative record for this action. During its review of the documents,

Customs discovered that the score of 73.75 percent that it reported in its January 5, 2024, letter to

plaintiff was incorrect and the result of a clerical calculation error. Specifically, each CBLE

question is worth 1.25 points. Customs initially credited plaintiff with 54 correct answers out of a

total of 80 questions, for a score of 67.50 percent. After plaintiff’s first appeal for administrative

review, Customs credited plaintiff with one additional question, bringing her total number of

correct answers to 55 out of a total of 80 questions, for a score of 68.75 percent. After plaintiff’s

second appeal for administrative review, Customs credited plaintiff with three additional

questions, bringing her total number of correct answers to 58 out of a total of 80 questions, for a

score of 72.50 percent. Therefore, the January 5, 2024, letter from Ms. Highsmith to plaintiff

should have informed plaintiff that her final score was 72.50 percent. However, Customs

incorrectly wrote “73.75” instead of “72.50” in the letter.




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       On May 8, 2024, this Court granted the Government’s motion to remand the case to

Customs to correct its letter and issue a revised letter to plaintiff. ECF No. 12. On May 22, 2024,

Customs issued a revised letter to plaintiff, explaining that plaintiff’s final score on the exam was

72.50 and that she did not pass the test. AR at 72-80. Through this action, plaintiff challenges

CBP’s refusal to afford credit for questions number 16, 20, 34, and 44. For the reasons stated

below, the Court should sustain CBP’s denial of plaintiff’s application for a license, enter

judgment for the Government, and dismiss this action.

                                   STANDARD OF REVIEW

       The denial of a Customs broker’s license can be overturned only if that decision was

arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law. 5 U.S.C. §

706. The U.S. Court of Appeals for the Federal Circuit has observed that:

               Underpinning a decision to deny a license arising from an
               applicant’s failure to pass the licensing examination are factual
               determinations grounded in examination administration issues -
               such as, in the present case, the allowance of credit for answers other
               than the official answer- which are subject to limited judicial review
               because the findings of the Secretary as to the facts, if supported by
               substantial evidence, shall be conclusive.’

Kenny v. Snow, 401 F.3d 1359, 1361 (2005) (citations and quotation marks omitted and alterations

adopted). “Substantial evidence is such relevant evidence as a reasonable mind might accept as

adequate to support a conclusion.” Id. (quoting Consol. Edison Co. v. NLRB, 305 U.S. 197, 229

(1938)); see also Tarnove v. Bentsen, 17 CIT 1324, 1324 (1993); Fusco v. U.S. Treasury Dep’t,

695 F. Supp. 1189, 1193 (Ct. Int’l Trade 1988).

       Moreover, the agency is “entitled to certain latitude in the design and scoring of customs

broker license exams.” Dunn-Heiser, 374 F. Supp. 2d at 1280 (citation omitted). “Judicial

intrusion into . . . the formulation and grading of standardized examination questions” is properly




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“limited in scope.” Id. (citation omitted). While the Court reviews each exam question, “[p]arties

should not conclude from the court’s detailed examination of the test answers that the court is some

kind of final reviewer of the [exam].” Di Iorio v. United States, 14 CIT 746, 752 (1990). On the

contrary, instead of “substitute[ing] its own judgment on the merits of the Customs examination,”

the Court “will examine decisions made in connection therewith on reasonableness standard.”

Id. at 747; see also Harak v. United States, 30 CIT 908, 912 (2006).

                                          ARGUMENT

    CBP’S DECISION TO NOT AFFORD PLAINTIFF CREDIT FOR THE
    CONTESTED QUESTIONS WAS SUPPORTED BY SUBSTANTIAL EVIDENCE.

         Plaintiff contends that CBP’s decision to deny her appeal of questions 16, 20, 34, and 44

 was not supported by substantial evidence. Plaintiff is incorrect as to all four challenged

 questions, because the evidence in the administrative record establishes that CBP’s decision to

 deny plaintiff’s appeal of those questions was reasonable and amply supported.

        The following is a discussion of the contested questions:

        Question No. 16

               In cases where imported cargo is unloaded from a commercial
               vessel at a port within the definition of 19 CFR 24.24 Harbor
               maintenance fee, and admitted into a foreign trade zone, the
               applicant for admission who becomes liable for the fee must pay all
               fees for which he is liable on a _________ basis.

               A.     Yearly

               B.     Daily

               C.     Monthly

               D.     Quarterly

               E.     Weekly



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         In scoring the exam, CBP designated the correct answer as (D), “Quarterly.” Plaintiff

 selected answer choice (E), “Weekly.” CBP’s Regulations and Rulings (R&R) provided

 analysis in support of CBP’s answer, (D), the substance of which was later provided to plaintiff

 along with the final notice of her license denial:

               The question presented is enumerated verbatim in 19 C.F.R. §
               24.24(e)(2)(iii). As the rule states, if imported cargo is unloaded from
               a commercial vessel and admitted into a foreign trade zone, the fees
               must be paid on a quarterly basis per 19 C.F.R. § 24.24(e)(2)(iii).
               Stoute[-]Francois instead relies on 19 C.F.R. § 24.24(d)(4), which
               states that ‘quarterly payment is not required if the total value of all
               shipments for which a fee was assessed for the quarter does not exceed
               $10,000.’ As this is a special rule, it is implicated only if the relevant
               facts are present in the question, i.e., if the value of the imported cargo
               exceeds $10,000 or if the total value of the shipments was assessed for
               the quarter. Otherwise, the default rule in 19 C.F.R. § 24.24(e)(2)(iii)
               applies. Additionally, 19 C.F.R. § 24.24(e)(2)(iii) omits the language
               ‘subject to the exemptions and special rules of this section,’ which
               means that cargo imported per 19 C.F.R. § 24.24(e)(2)(iii) is not
               subject to the special rule in 19 C.F.R. § 24.24(d)(4).

AR at 62.

       CBP’s choice of (D), “Quarterly,” as the best answer is supported by substantial

evidence. In particular, as R&R explained, the wording of Question No. 16 tracks the regulatory

language almost exactly and specifically references admission of cargo into “Foreign Trade

Zones.” AR at 44; 19 C.F.R. § 24.24(e)(2)(iii) (“In cases where imported cargo is unloaded

from a commercial vessel at a port within the definition of this section and admitted into a

foreign trade zone, the applicant for admission . . . who becomes liable for the fee at the time of

unloading pursuant to paragraph (e)(3)(i) of this section, must pay all fees for which he is liable

on a quarterly basis in accordance with paragraph (f) of this section . . . .”) (emphasis added).

R&R was likewise correct that, unlike section 24.24(e)(2)(i), (e)(2)(iii) does not state that it is

“[s]ubject to the exemptions and special rules” of the section. Additionally, subsection (f) of the




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regulation, “Quarterly payments,” provides additional support that the question references the

default rule outlined in subsection (e). Moreover, the context of the other answer choices, all of

which describe frequency of payments, does not suggest that the de minimis rule in subsection

(d), or any exemption, should be taken into account when selecting an answer. See id. §

24.24(d)(4) (“Quarterly payment is not required if the total value of all shipments for which a

fee was assessed for the quarter does not exceed $10,000.”). There is no answer choice option

providing that the harbor maintenance fee is not required.

          Plaintiff’s arguments that CBP’s decision is not supported by substantial evidence

 “because the question omitted sufficient information that would have permitted Plaintiff to

 make an informed choice,” Pl.’s Br. at 11-13, misconstrues the relevant standard of review in

 CBLE review cases. Plaintiff, quoting caselaw unrelated to the CBLE context, argues that

 “[t]he absence of evidence is not evidence of absence,” Pl.’s Br. at 12 (quoting Diamond

 Sawblades Mfrs. Coal. v. United States, 37 CIT, 1501, 1511(2013)), and insists that plaintiff

 could not “choose an answer” based on the information in the question. Id. at 13. But, as this

 Court has noted in a previous analysis of competing arguments regarding a “best” possible

 answer choice on the CBLE, “[i]t is incumbent upon the test-taker to synthesize the fact pattern

 provided while referencing the universe of information on which he or she is to base a

 decision.” Depersia v. United States, 637 F. Supp. 2d 1244, 1252 (2009) (emphasis added). In

 other words, it is plaintiff’s obligation to consider the facts of the question, without making

 unnecessary outside assumptions; indeed, the “absence” of facts in the exam context does not

 indicate a lack of substantial evidence but rather represents a limitation on the fact pattern at

 issue.

          Here, CBP’s alleged “failure to identify the type and value of the imported cargo,” Pl.’s




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 Br. at 12, was one such limitation on the fact pattern. Because no facts present in the fact

 pattern suggested that the special rule or exemption was implicated, there was no basis for

 plaintiff to assume anything other than the default rule applied. Moreover, plaintiff points to

 nothing in the special rule that would support her answer choice of “Weekly” (nor could she,

 as the regulation does not provide for weekly payment of the harbor maintenance fees under

 any circumstances). Accordingly, Question No. 16 was more than “adequate,” Di Iorio, 14

 CIT at 748-49, such that R&R’s rejection of plaintiff’s appeal was reasonable. The Court

 should reject plaintiff’s attempt to “ignore the stated facts of the question” at issue to create

 false ambiguities. Kenny, 401 F.3d at 1362.

         Question No. 20

       Which piece of information is NOT a requirement on a commercial invoice?

       A.      All rebates, drawbacks, and bounties, separately itemized, allowed upon the
               exportation of the merchandise.

       B.      An itemized list by name and amount of packing, cases, containers, and inland
               freight to the port of exportation, if included in the invoice price, and so
               identified.

       C.      The kind of currency, whether gold, silver, or paper.

       D.      The port of entry to which the merchandise is destined.

       E.      The name of a responsible employee of the exporter, who has knowledge, or who
               can readily obtain knowledge, of the transaction.

       In scoring the exam, CBP designated the correct answer as (B) “An itemized list by name

and amount of packing, cases, containers, and inland freight to the port of exportation, if included

in the invoice price, and so identified.” Plaintiff selected answer choice (E) “The name of a

responsible employee of the exporter, who has knowledge, or who can readily obtain knowledge,

of the transaction.”




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       CBP relied on 19 C.F.R. § 141.86 as support for its answer. See AR 40-42. Section

141.86(a) sets forth the eleven categories of information that are required on an invoice. The

information contained in answer choice (A) (“All rebates, drawbacks, and bounties, separately

itemized, allowed upon the exportation of the merchandise” see section 141.86(a)(9)), answer

choice (C) (“The kind of currency, whether gold, silver, or paper” see section 141.86(a)(7)), and

answer choice (D) (“The port of entry to which the merchandise is destined” see section

141.86(a)(1)), are expressly required on an invoice or attachment per section 141.86(a). AR at 41.

The information in choice (E) is required by 19 C.F.R. § 141.86(j) (“Each invoice of imported

merchandise must identify by name a responsible employee of the exporter, who has knowledge, or

who can readily obtain knowledge, of the transaction). Id. However, the regulation does not

require the information set forth in answer choice (B), which is “[a]n itemized list by name and

amount of packing, cases, containers, and inland freight to the port of exportation, if included in

the invoice price, and so identified.” Indeed, section 141.86(a)(8) states that “[t]he cost of packing,

cases, containers, and inland freight to the port of exportation need not be itemized by amount if

included in the invoice price, and so identified.” Answer (B) is therefore correct.

       Notwithstanding the clear language of Question No. 20 and the answer choices, plaintiff

again argues that the question does not contain sufficient facts to choose a correct answer. Pl.’s Br.

at 14. Specifically, relying on Section 141.86(i)2, plaintiff argues that the question “fails to

account for the possibility that the required information would not appear on the commercial

invoice, but instead on a substitute document.” Id. Like with Question No. 16, plaintiff is

attempting to “tak[e] a portion of the question and formul[ate] [her] own factual scenarios,” which



       2
         19 C.F.R. § 141.86(i) provides: “Information may be on invoice or attached thereto. Any
information required on an invoice by any provision of this subpart may be set forth either on the
invoice or on an attachment thereto.”


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is not permitted. Di Iorio, 14 CIT at 751. Question No. 20 is straightforward in that it only asks

the examinee to identify information that is not required on an invoice, and it can be correctly

answered by consulting section 141.86. Indeed, the question makes no reference to an attachment

to an invoice or information contained on such an attachment. Plaintiff is not permitted to

“unilaterally rewrite the question” in an attempt to infuse ambiguity into the question. Question

No. 20 contained the necessary information to reach the correct answer choice (B).

        Moreover, according to plaintiff, “[i]f a separate attachment contains all the required

information, then a commercial invoice would contain none of the information set forth in the five

answer choices” for Question No. 20. Pl.’s Br. at 14. Plaintiff is incorrect. Plaintiff’s selection of

answer choice (E) is not an enumerated requirement in section 141.86. Plaintiff has made no

attempt to explain why answer choice (E), which is a verbatim recitation of the requirement in

section 141.86(j), is correct.

        Relying on 19 C.F.R. § 142.6(a)3, plaintiff further argues that “Question No. 20 fails to

account for the fact that a commercial invoice is not required with the entry of merchandise.” Pl.’s

Br. at 15. According to plaintiff, “[i]f the commercial invoice itself is not required, the types of

information provided in the answer choices cannot qualify as ‘requirement[s] on a commercial

invoice.’” Id. at 15. Plaintiff again attempts to rewrite the question. Section 142.6(a) states that,




3 19 C.F.R. § 142.6 provides in relevant part:


        § 142.6 Invoice requirements.

        (a) Contents. The commercial invoice, or the documentation acceptable in place of a
        commercial invoice in those instances listed in § 141.83(d) of this chapter, shall be
        furnished with the entry and before release of the merchandise is authorized. The
        commercial invoice or other acceptable documentation shall contain: …




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in circumstances set forth in section 141.83, certain documentation is acceptable in place of a

commercial invoice. As written, Question No. 20 does not identify any of the circumstances

identified in section 142.6(a). Furthermore, the fact that commercial invoices are not always

required is of no moment because nothing in the text of the question requires that the examinee

determine whether an invoice is required or not. Question No. 20 is fairly circumscribed in that it

asks what piece of information is not a requirement on a commercial invoice. Accordingly, the

only correct answer is “B” and CBP’s decision to deny plaintiff’s challenge as to this question is

supported by substantial evidence.

       Question No. 34

               An article of base metal containing two or more base metals is classified by the
               metal that ____________.

               A.      Is referenced last in the HTSUS

               B.      Imparts the essential character of the article

               C.      Predominates by weight over each of the other metals

               D.      Has the highest value

               E.      Is essential to its actual use

       In grading the exam, CBP designated (C), “Predominates by weight over each of the other

metals,” as the correct response. Plaintiff selected (B), “Imparts the essential character of the

article.” R&R explained that “GRI 1 establishes that classification shall be determined according

to the terms of the headings and any relative chapter or legal notes,” and that Legal Note 7 of

Section XV of the HTSUS (2020 Basic Edition) provides that for “articles of base metal containing

two or more base metals are classified by the base metal predominating by weight.” AR at 48.

Because Question No. 34 explicitly references an “article of base metal,” and the application of

GRI 1 applies to the classification question, R&R explained that resort to GRI 3(b), the test to


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determine the essential character of an article, was unnecessary. Id.

       CBP’s answer choice, as dictated by the proper application of the GRIs, is the best answer

and should be upheld. “While the factual findings of the Secretary must be based on substantial

evidence, both 19 U.S.C. § 1641 and 28 U.S.C. § 2640 are silent as to the standard of review the

Court should apply to legal questions in a customs broker’s license denial case.” Depersia, 637 F.

Supp. 2d at 1247. Therefore, the Court follows the Administrative Procedure Act’s (APA)

“general guidance.” Id. (citation omitted). Under the APA’s standard, the court will only set aside

the “final administrative determination of the Secretary” where the decision made was “arbitrary,

capricious, an abuse of discretion, or otherwise not in accordance with law.” 5 U.S.C. § 706(2)(A);

see Depersia, 637 F. Supp. 2d at 1247. Here, CBP’s reading of GRI 1 and the relevant section

notes of the HTSUS is consistent with Federal Circuit precedent guiding the agency’s

interpretation of its governing statutes. Specifically, within the HTSUS—a statute—“proper

classification of merchandise entering the United States is governed by the General Rules of

Interpretation (‘GRIs’).” Otter Prods., LLC v. United States, 834 F.3d 1369, 1375 (Fed. Cir. 2016)

(citing Orlando Food Corp. v. United States, 140 F.3d 1437, 1439 (Fed. Cir. 1998)). “According to

GRI 1, the HTSUS headings, as well as relative section or chapter notes” control classification.

Orlando Food Corp., 140 F.3d at 1440 (emphasis added) (“In other words, a court first construes

the language of the heading, and any section or chapter notes in question, to determine whether the

product at issue is classifiable under the heading.”).

       Plaintiff’s argument to the contrary, Pl’s Br. at 17-18, again misses the mark by imposing

an obligation that CBP’s test questions contain all possible permutations of facts that could

theoretically bear upon classification of a good. But “perfect questions,” Chae v. Yellen, 570 F.



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Supp. 3d 1343, 1351 (Ct. Int’l Trade 2022) (citation omitted), is not the relevant standard;

reasonableness is. Had Question No. 34 included certain other details that plaintiff alludes to—

such as, for instance, the precise chemical composition of the article—that information might well

have been relevant to the answer. Here, though, the information available to the test-taker was that

the article to be classified was “of base metal containing two or metals,” and the question was

testing the test-takers’ ability to apply the GRIs. Based on that information, as well as the answer

choices, CBP’s selection of (C), “Predominates by weight over each of the other metals,” is plainly

supported by substantial evidence, and rejection of plaintiff’s appeal was more than “reasonable.”

Di Iorio, 14 CIT at 748-49.

       Question No. 44

       What is the CLASSIFICATION of an automatic baseball pitching machine that releases five
       time-delayed balls in succession? The pitching machine is constructed of bright colored plastic
       and operates using four D cell batteries, which power the launcher and audible sound that
       signals when the next ball is coming. The product also includes a hollow yellow plastic bat and
       five white hollow plastic balls. Additionally, beginners can convert the product into a miniature
       T-ball set. It is recommended for children aged 3 years and older.

       A.      9503.00.0071

       B.      9503.00.0073

       C.      9504.90.9080

       D.      9506.69.2040

       E.      9506.99.1500

       In grading the exam, CBP designated (B), subheading 9503.00.0073, HTSUS, as the correct

response. Plaintiff selected (D), subheading 9506.69.2040.

       Heading 9503 of the HTSUS (2020 Basic Edition) covers “[t]ricycles, scooters, pedal cars

and similar wheeled toys; dollsʼ carriages; dolls, other toys; reduced-scale (“scaleˮ) models and

similar recreational models, working or not; puzzles of all kinds; parts and accessories thereof.”


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Heading 9506 covers “[a]rticles and equipment for general physical exercise, gymnastics, athletics,

other sports (including table-tennis) or outdoor games, not specified or included elsewhere in this

chapter; swimming pools and wading pools; parts and accessories thereof.”

       Answer choice (B) is the best answer to Question No. 44 and should be upheld. CBP

explained that the first step is determining the correct heading for classification of the merchandise.

AR at 66. CBP applied General Rule of Interpretation (GRI) 1 (“…classification shall be

determined according to the terms of the headings and any relative section or chapter notes . . .”)

and GRI 6 (“. . . the classification of goods in the subheadings of a heading shall be determined

according to the terms of those subheadings and any related subheading notes and, mutatis

mutandis, to the above rules, on the understanding that only subheadings at the same level are

comparable…”) to determine that the pitching machine was described by or met the terms of

heading 9503, HTSUS, and conversely, that the machine was not described by or met the terms of

the headings 9504 and 9506, HTSUS. A.R. at 57.

       Here, the facts included in Question No. 44 indicate that the pitching machine is intended

for children’s play (i.e., as a “toy”), rather than “general physical exercise, gymnastics, athletics,

[or] other sports.” The machine releases “time-delayed balls,” is made of “bright colored plastic,”

signals the ball release with an “audible sound,” includes “hollow” plastic bat and balls, and can be

converted “into a miniature T-ball set” for beginners as young as three years old.

       A review of relevant caselaw confirms that CBP’s answer choice (B), classifying the

pitching machine under heading 9503, is in accordance with existing law interpreting the terms of

both headings. The term “toys” in heading 9503 is not defined by statute, but this Court has found

“inherent” in common and commercial definitions of “toys” “the notion that an object is a toy only



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if it is designed and used for amusement, diversion or play, rather than practicality.” Minnetonka

Brands, Inc. v. United States, 24 CIT 645, 650 (2000) (citing Orlando Food Corp., 140 F.3d at

1441 (Fed. Cir. 1998)).

       By contrast, this Court’s decisions interpreting the term “sports equipment” underscore why

heading 9506 (plaintiff’s selection) does not cover the pitching machine described in Question No.

44. Lemans Corp. v. United States, 660 F.3d 1311, 1318 (Fed. Cir. 2011) (“The term ‘sports

equipment’ is not defined in the HTSUS, so we are to look to the common and popular meaning of

the term. … Here, the CIT correctly cited the dictionary definition of ‘equipment’ to find that ‘[t]o

qualify as “equipment” for a sport, the good should generally provide “what is necessary, useful, or

appropriate [for that sport].”’” (citations omitted)). The fact pattern of Question No. 44 makes

apparent by describing the materials of the pitching machine and its accompanying equipment that

it would not be “useful, or appropriate” for use in baseball, as opposed to a child’s amusement and

play in more than one mode (pitching or T-ball).

       During the course of this appeal, CBP stated that the pitching machine was described by the

term “reduced-scale (‘scale’) models and other similar recreational models, working or not” within

9503. The exam question was based on Customs ruling, HQ H010584 (Dec. 18, 2007), which

stated that the pitching machine at issue was classifiable under a no-longer-in-effect subheading of

9503 covering “Other toys…: Other toys and models, incorporating a motor, and parts and

accessories thereof.” See AR at 72-73. Although in its response CBP refers to the merchandise as

a “reduced-scale model” within heading 9503 rather than a “toy” within heading 9503, answer




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choice (B) is clearly correct. 4 As discussed, heading 9503 encompasses both “reduced-scale

(‘scale’) models and similar recreational models” and “other toys,” 5 and did not require plaintiff to

distinguish between the two to reach the correct answer. Indeed, both the record and plaintiff’s

briefing show that her selection of answer choice (D) was not based on the identification of an

ambiguity based on some perceived difference between “models” and “toys.” Instead, plaintiff’s

insistence that “there is no indication that the merchandise is anything but a full-sized, fully

functioning automatic baseball pitching machine,” Pl.’s Br. at 20, “ignore[s] the stated facts of the

question.” Kenny, 401 F.3d at 1362. Specifically, plaintiff ignored how a machine pitching hollow

plastic balls and designed for ages “3 years and older” is suited for children’s play, but not the kind

of “general physical exercise” described in heading 9506.

       With the other potential four-digit headings6 eliminated from contention in accordance with

GRI 1, CBP’s correct answer choice (B) is further supported because of the subsequent language

attached to statistical reference number 9503.00.0073: “‘Children’s products’ as defined in 15


       4
         There is indication that the pitching machine is reduced in scale, since it can convert to a
miniature T-ball machine. See “Miniature.” Merriam-Webster.com Dictionary, MERRIAM-
WEBSTER, https://www.merriam-webster.com/dictionary/miniature (last accessed May 14, 2024)
(defining “miniature” as “a copy on a much reduced scale”).
       5
         A reduced-scale model classifiable under heading 9503 may also be a kind of toy. Cf.
Mattel, Inc. v. United States, 950 F. Supp. 353, 356 (Ct. Int’l Trade 1996) (“[I]f the model is
intended for manipulation or simulation of use, that can hardly be distinguished from play or
amusement. So it is pointless to draw a strict distinction between models and the common
understanding of toys.” (discussing a prior version of heading 9503)).
       6
         Though not raised by plaintiff, heading 9504 covers “[v]ideo game consoles and
machines, articles for arcade, table or parlor games, including pinball machines, bagatelle, billiards
and special tables for casino games; automatic bowling alley equipment; parts and accessories
thereof.” The pitching machine is plainly neither described by nor meets the terms of that heading,
specifically, “video game consoles and machines, articles for arcade, table or parlor games” or
“automatic bowling alley equipment.” Thus, answer choice (C) is incorrect.



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U.S.C. § 2052[7]: Other: Labeled or determined by importer as intended for use by persons: 3 to 12

years of age.” AR at 58. Statistical Note 1 to Chapter 95 of the HTSUS provides as follows:

                 In heading 9503, classification is based on the youngest age
                 for which the product is intended. For example, an item
                 labeled “For ages 2–5” would be appropriately classified in
                 the “Under 3 years of age” category. Parts and accessories,
                 if not specifically labeled for a specific age, should be
                 classified under the age designation that would be applicable
                 to the finished retail product of which it is a component or in
                 which it is incorporated.

         As previously noted, the language of Question No. 44 expressly indicates that the pitching

machine “is recommended for children aged 3 years and older.” Therefore, considering the facts

of the question and the language of the HTSUS and its contents, plaintiff should have eliminated

answer choice (A) in addition to (C), (D), and (E), and selected (B).

                                            CONCLUSION

            For all of the above reasons, the Government respectfully requests this Court to deny

    plaintiff’s motion for judgment on the agency record, enter judgment for the United States,

    and dismiss this action.



                                                         Respectfully submitted,

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7
 15 U.S.C. § 2052(a)(2) states that “[t]he term ‘children’s product’ means a consumer product
designed or intended primarily for children 12 years of age or younger.”


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                                CERTIFICATE OF COMPLIANCE


        I hereby certify, pursuant to section 2(B)(1) of the Standard Chambers Procedures of this Court,

that this response brief contains 5,547 words, excluding any materials excluded from those Procedures’

requirements, as calculated by the word processing system used to prepare this brief (Microsoft Word).


                                                                 /s/ Nico Gurian
